       Case 4:18-cv-00040-RGE-HCA Document 7 Filed 05/14/18 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA

 CHRISTOPHER BRUCE AND                               CIVIL ACTION NO. 4-18-cv-40
 ELIZABETH BRUCE,

         Plaintiffs,

 v.
                                                 DEFENDANTS GOSCH, RHINEHART,
 POLK COUNTY ATTORNEY’S                           NIEMAN, DUGDALE, AND MILLER-
 OFFICE, John P. Sarcone, et al.,                   TODD’S MOTION TO DISMISS

         Defendants.


       COME NOW, the Defendants Katie Gosch, Stephanie Rhinehart, Emily Nieman,

Grant Dugdale, and Katherine Miller-Todd, as well as the Iowa Department of Human

Services and the Iowa Attorney General’s Office, and for the following reasons, move

that this matter be dismissed:

       1.     This is a federal civil rights lawsuit arising out of a state child custody

case, or, more specifically, out of two state child custody cases: a child in need of

assistance action filed by the State and a termination of parental rights actions filed by

the State. Additionally the lawsuit refers to a state administrative appeal in which an

allegation of child abuse was determined to be unfounded.

       2.     This action should be dismissed as this court lacks appellate jurisdiction

over the state court actions involved. See Brief, Div. III.

       3.     This action should be dismissed as the orders arising out of the state court

actions are res judicata of the issues Petitioners seek to raise here. See Brief, Div. IV.

       4.     This action should be dismissed as to Defendants Dugdale and Miller-

Todd as the Plaintiffs fail to state a claim. See Brief, Div. V.

       5.     The Plaintiffs’ claims against the Iowa Department of Human Services and
       Case 4:18-cv-00040-RGE-HCA Document 7 Filed 05/14/18 Page 2 of 3



the Iowa Attorney General’s Office should be dismissed as they are barred by Eleventh

Amendment immunity and because those entities are not persons subject to suit under

§ 1983. See Brief, Div. VI.

       6.      The action should be dismissed as Defendants are entitled to absolute

and qualified immunity. See Brief, Div. VII.

       5.      The action should be dismissed as to Plaintiff Christopher Bruce because

he lacks standing to bring this action. See Brief, Div. VIII.

       6.      This Plaintiffs’ § 1983 claims should be dismissed as they are barred by

the statute of limitations. See Brief, Div. IX.

       7.      The Plaintiffs’ civil RICO claim should be dismissed as they lack standing

and fail to state a claim upon which relief can be granted. See Brief, Div. X.

       8.      The Plaintiffs’ § 241 claim should be dismissed because no such claim

can be raised. See Brief, Div. XI.

       WHEREFORE, the Defendants Gosch, Rhinehart, Nieman, Dugdale, and Miller-

Todd, as well as the Iowa Department of Human Services and the Iowa Attorney

General’s Office pray that this matter be dismissed.

                                                  THOMAS J. MILLER
                                                  Attorney General of Iowa

                                                  /s/ Charles K. Phillips_____________
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Original filed electronically.
      Case 4:18-cv-00040-RGE-HCA Document 7 Filed 05/14/18 Page 3 of 3



Copies to all parties by CM/ECF.

Copies mailed via Regular U.S. Mail to:

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Sioux Falls, SD 57104

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                                                                   PROOF OF SERVICE
                                            The undersigned certifies that the foregoing instrument was served upon
                                          each of the persons identified as receiving a copy by delivery in the
                                          following manner on May 14, 2018

                                                   U.S. Mail                      FAX
                                                   Hand Delivery                 Overnight Courier
                                                   Federal Express                Other
                                                   CM/ECF System Participant (Electronic Service)

                                          Signature: _/S/ Wendi Danitz-Hart________________
